Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 1 of 6
Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 2 of 6
Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 3 of 6
Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 4 of 6
Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 5 of 6
Case 14-26697   Doc 1   Filed 07/21/14   Entered 07/21/14 15:49:13   Desc Main
                           Document      Page 6 of 6
